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                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

NIKI FRENCHKO,                           )    Case No. 4:23-cv-781
                                         )
      Plaintiff,                         )    Judge J. Philip Calabrese
                                         )
v.                                       )    Magistrate Judge Thomas M. Parker
                                         )
PAUL MONROE, et al.,                     )
                                         )
       Defendants.                       )
                                         )
                                         )

                                     ORDER

      The Court schedules a hearing on Plaintiff’s motion for a temporary

restraining order in Courtroom 16B, Carl B. Stokes U.S. Courthouse, 801 West

Superior Ave., Cleveland, Ohio on April 18, 2023 at 2:00 pm.

      SO ORDERED.

Dated: April 17, 2023




                                      J. Philip Calabrese
                                      United States District Judge
                                      Northern District of Ohio
